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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

    ROBBIE WALLACE                             §
    Plaintiff                                  §
                                               §       Civil No. 2:07-CV-74
    VS.                                        §
                                               §       Judge T. John Ward
    UNITED STATES POSTAL SERVICE               §
    Defendant                                  §



           ON THIS date came on to be heard Plaintiff’s Verified Motion to Retain in the

    above entitled and numbered cause, and the Court having considered same, is of the

    opinion that the Motion should be and the same is hereby in all things GRANTED.

           IT IS THEREFORE ORDERED that said cause be retained on the trial docket.
